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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
______________________________________________________________________

ZMCC PROPERTIES, L.L.C.,

       Plaintiff,

v.                                                      Case No. 19-12428

PRIMEONE INSURANCE COMPANY,

     Defendant.
__________________________________/

 ORDER SETTING DEADLINE AND TERMS OF MEDIATION AND SCHEDULING A
                     TELEPHONE CONFERENCE

       On May 14, 2020, the court held a telephonic conference to discuss the status of

the case. At the conference, the parties informed the court that they intend to engage in

mediation with Daniel P. Makarski as the mediator. A date for the mediation is currently

set for October 6, 2020, which is subject to change. Accordingly, pursuant to the parties’

request,

       IT IS ORDERED that the parties are DIRECTED to engage in mediation in good

faith on the selected date of mediation, currently set for October 6, 2020. Daniel P.

Makarski will serve as the mediator. The process of such mediation shall proceed in a

manner directed by the mediator.

       IT IS FURTHER ORDERED that the parties shall comply with all preparatory

steps required by the mediator in advance of the mediation. As directed by the

mediator, the parties shall comply with all requests to produce documents or other

information. If the mediator directs that one or more decision-making representatives of

the parties personally attend the mediation, the parties shall comply with such directive.
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         Finally, IT IS ORDERED that the parties shall notify the court of the results of the

mediation by in a telephone conference to occur on October 13, 2020 at 2:00 pm. The

telephone conference may be canceled if the parties notify the court in advance and

submit the appropriate case-closing documents.

                                                                  s/Robert H. Cleland               /
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
Dated: May 15, 2020

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 15, 2020, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner                     /
                                                                  Case Manager and Deputy Clerk
                                                                  (810) 292-6522

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